1. The attack the plaintiffs sought to make on the validity of Code § 32917 relates only to those portions of the section which provide for an election when "as many as one fourth of the patrons" object to the consolidation; and since it does not appear that any such objection was made, and it does appear that the consolidation was ordered without an election, such grounds of attack may not be considered.
2. Equity will not ordinarily interfere in local controversies arising under the laws of the State relating to public schools, but will leave their administration to the respective county boards of education, to which tribunals this power has been delegated by the legislature. *Page 640 
3. Under the foregoing principle, the judge did not err in dismissing the plaintiffs' action on demurrer.
     No. 13478. FEBRUARY 12, 1941. REHEARING DENIED MARCH 19, 1941.
Certain persons, citizens and taxpayers of what had been Rowena School district and patrons of what had been Rowena School of that district in Early County, brought their petition in equity against the members of the county board of education, including the county school superintendent, seeking to enjoin the holding of an election for school trustees in the territory of a new district formed by the recent consolidation of the Rowena and Damascus districts, notice of which had been given by the county superintendent. Injunction was sought also as to any subsequent official action which the members of the board might take, looking to putting into effect the consolidation. The contention was made in their petition that Code section 32-917, under which the board purported to act in ordering the consolidation, did not confer such authority, because of its alleged vagueness, uncertainty, and indefiniteness in its provisions for an election referendum. It was not alleged that there had been such objection by patrons as under the provisions of this Code section would require an election as to the consolidation. On the contrary, it appeared that the consolidation had been ordered without an election, and, so far as appears, without any request for one or objection by patrons. Thus the election it was sought to enjoin is the one for new trustees, and not as a referendum on the consolidation. Each of the districts had outstanding bonded indebtedness; and it was contended no consolidation could be had except under the terms of a proviso in article 8, section 4, paragraph 1 (Code, § 2-6901), which requires that the same shall be approved by two thirds of the qualified voters of the districts affected. Various objections as to the consolidation were presented, among which were allegations that the values of the plaintiffs' property would be reduced by the proposed location of the consolidated school in another part of the district. Their petition was dismissed on demurrer.
It has generally been held by this court that equity will not interfere with the administration of the public-school *Page 641 
laws under which various local controveries arise, but will leave these controveries to the county boards of education which are established under the legislative scheme as tribunals for the handling of school affairs and the administration of these laws. It was recently stated in Keever v. Board of Education ofGwinnett County, 188 Ga. 299 (3 S.E.2d 886): "Each county of the State is by law made a school district, and the management and control of the schools of the county is confided in the county board of education. Code, §§ 32-404, 32-901. The county board of education is the tribunal for hearing and determining all matters of local controversy in reference to the construction and administration of the school law, but an appeal from the decisions of the board may be had to the State school superintendent. § 32-910. While each county is subdivided into school districts, and the law encourages individual action and local effort by such subdivisions, it expressly provides that the general school laws as administered by the county boards of education must be observed. § 32-1126. It thus appears that the operation and management of the schools of the county is vested in the county board of education, and that the trustees of the local districts are amenable to the county boards of education." Specifically, as respects objections to consolidation of schools and school districts, it has been stated: "The consolidation of school districts is a part of the political power of the State which the legislature has seen fit to confer upon the county board of education, with a referendum to the voters of the consolidated districts to approve or disapprove the consolidation; and in the absence of any provision made by the statute for a review in equity of the decision of the board, the remedy by popular vote is the only one open to patrons of one or more of the schools consolidated, who are dissatisfied with the consolidation. Board of Education of Burke County v. Hudson,164 Ga. 401 (138 S.E. 792); Plainfield Consolidated SchoolDistrict v. Cook, 173 Ga. 447, 451 (160 S.E. 617)."Church v. Purcell, 186 Ga. 95 (5) (196 S.E. 806).
In the present case complaint is made that the Code section 32-917, giving county boards of education power to consolidate school districts, is invalid, and that the power does not otherwise exist in the board except as provided in the terms of an amendment in 1932 to the constitution, the same now forming a proviso *Page 642 
in article 8, section 4, paragraph 1, of the constitution (Code, § 2-6901). The attack made on § 32-917 is that the provisions for a referendum with reference to consolidation are too vague, indefinite and uncertain for enforcement. An examination of that section discloses that it was not contemplated that in every consolidation ordered by a county board of education an election should be held. The power to consolidate the schools is clearly given to the board, but it is provided that if "as many as one fourth of the patrons of the said school or schools object to the consolidation" an election shall be held as prescribed. In the instant case it is not made to appear that one fourth of the patrons object to the consolidation or that an election was desired. While some allegations are made that the values of plaintiffs' property would be unfavorably affected as a result of the consolidation and the change of location of the school building, these charges are not considered sufficient to assert the violation of a property right which would give equity jurisdiction to interfere. The petition being thus wanting in essential allegations to confer jurisdiction in equity, the other complaints will not be considered. The judge did not err in sustaining the demurrer and dismissing the action.
Judgment affirmed. All the Justices concur.